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Case 0:16-cr-60353-BB Document 71-1 Entered on FLSD Docket 04/24/2017 Page 3 of 10

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Case 0:16-cr-60353-BB Document 71-1 Entered on FLSD Docket 04/24/2017 Page 4 of 10

Case 0:16-cr-60353-BB Document 71-1 Entered on FLSD Docket 04/24/2017 Page 5 of 10

Case 0:16-cr-60353-BB Document 71-1 Entered on FLSD Docket 04/24/2017 Page 6 of 10

Case 0:16-cr-60353-BB Document 71-1 Entered on FLSD Docket 04/24/2017 Page 7 of 10

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Case 0:16-cr-60353-BB Document 71-1 Entered on FLSD Docket 04/24/2017 Page 9 of 10

Case 0:16-cr-60353-BB Document 71-1 Entered on FLSD Docket 04/24/2017 Page 10 of 10

